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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      •
                                              •


       V.                                            Criminal No. 21-mj-38

ALBERT CIARPELLI,
                                              •
                                              •
                       Defendant.

                        JOINT MOTION TO CONTINUE AND
                 TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The Defendant, by and through his attorney William C. Sullivan, hereby moves this Court

to vacate the status conference presently scheduled for November 15, 2022, to continue the matter

for approximately six weeks, and further to exclude the time within which an indictment must be

filed under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice

served by taking such actions outweigh the best interest of the public and the defendant in a speedy

trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). The

defendant submits that the conditions that existed when the parties have previously moved to

continue status conferences, regarding the amount of discovery that must be collated, provided to,

and reviewed by the defense, still exist and have grown as the government has collected more

evidence in this case. See, e.g., ECF Nos. 10, 13, 14, 20, 23.        The government is working

diligently to provide this material to the defendant, but discovery is not yet complete, and the

defendant still requires time to go through the material that has been provided by the government.

Additionally, counsel and the United States have begun discussions of a potential resolution, but

they need more time before they are prepared to provide an answer to that question to the

government. Defense counsel has a trial set later November and needs approximately six more

weeks to both handle that trial, review materials, and speak to his client about a potential
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resolution.

        The parties submit that under these circumstances, the ends of justice to be served by the

requested continuance outweigh the interests of the public and the defendant in a speedy trial, and

the Court should consequently exclude time under the Speedy Trial Act.

        Undersigned counsel has conferred with Assistant United States Attorney Erik M.

Kenerson, Esq., and Mr. Kenerson informed undersigned counsel that the defendant may file-this

as a joint motion.

        WHEREFORE, the parties respectfully requests that this Court grant the motion to

continue for approximately four weeks, and that the Court exclude the time within which the trial

must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends

of justice served by taking such actions outweigh the best interest of the public and the defendant

in a speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and

(iv).

                                             Respectfully su




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